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 6                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
 7                                       AT SEATTLE

 8   UNITED STATES OF AMERICA,

 9                                 Plaintiff,             CASE NO. CR15-120-JCC

10          v.
                                                          DETENTION ORDER
11   KENNETH W. THOMAS,

12                                 Defendant.

13

14   Offense charged:      Conspiracy to Distribute Controlled Substances; Asset Forfeiture

15   Date of Detention Hearing:    May 4, 2015.

16          The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and

17   based upon the factual findings and statement of reasons for detention hereafter set forth, finds

18   that no condition or combination of conditions which defendant can meet will reasonably assure

19   the appearance of defendant as required and the safety of other persons and the community.

20           FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

21          1.      Defendant has been charged with a drug offense, the maximum penalty of which

22   is in excess of ten years. There is therefore a rebuttable presumption against defendant as to both

23   dangerousness and flight risk, under 18 U.S.C. § 3142(e).

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 1            2.      Defendant’s criminal record includes a numbers of failures to appear, drug

 2   offenses, and an attempt to elude conviction.        He is associated with three social security

 3   numbers. The AUSA proffers that distribution quantities of PCP were found at defendant’s

 4   residence during the execution of a search warrant. Defendant has a lengthy substance abuse

 5   history. Defense counsel advises that he is in the process of completing an application for

 6   defendant to be re-admitted into the Seadrunar Recovery inpatient drug patient, and will file a

 7   motion to review the detention order if defendant’s application is accepted.

 8            3.      Taken as a whole, the record does not effectively rebut the presumption that no

 9   condition or combination of conditions will reasonably assure the appearance of the defendant as

10   required and the safety of the community.

11   It is therefore ORDERED:

12         1. Defendant shall be detained pending trial and committed to the custody of the Attorney

13            General for confinement in a correction facility separate, to the extent practicable, from

14            persons awaiting or serving sentences or being held in custody pending appeal;

15         2. Defendant shall be afforded reasonable opportunity for private consultation with counsel;

16         3. On order of the United States or on request of an attorney for the Government, the person

17            in charge of the corrections facility in which defendant is confined shall deliver the

18            defendant to a United States Marshal for the purpose of an appearance in connection with

19            a court proceeding; and

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 1     4. The Clerk shall direct copies of this Order to counsel for the United States, to counsel for

 2        the defendant, to the United States Marshal, and to the United State Pretrial Services

 3        Officer.

 4        DATED this 4th day of May, 2015.

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 6                                                      A
                                                        Mary Alice Theiler
 7                                                      United States Magistrate Judge

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